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                                  UNITED STATES DISTRICT COURT
 1
                                           DISTRICT OF NEVADA
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 3      UNITED STATES OF AMERICA,                         Case No. 2:12-cr-00237-APG-CWH
 4                            Plaintiff,
                                                          ORDER ON MOTION FOR RELEASE
 5            v.                                          OF THE GOVERNMENT’S MOTION
                                                          FOR DOWNWARD DEPARTURE FOR
 6      JOSEPH ANDRADE,                                   DEFENDANT PERLA RAMIREZ
 7                            Defendant.
                                                          (DKT. #428)
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10            Defendant Joseph Andrade moves for an order from this court releasing to Andrade a

11     copy of the government’s motion for downward departure as to defendant Perla Ramirez (Dkt.

12     #311). Andrade requests a copy of the government’s motion to assist him in preparing his appeal.

13     No one has objected to the motion being released under seal to Andrade.

14            IT IS THEREFORE ORDERED that defendant Joseph Andrade’s motion for release of

15     the government’s motion for a downward departure for defendant Perla Ramirez (Dkt. #428) is

16     GRANTED.

17            IT IS FURTHER ORDERED that the clerk of court shall provide, under seal, a copy of

18     the government’s motion for downward departure as to defendant Perla Ramirez (Dkt. #311) by

19     mailing a copy to:

20            Alina M. Shell
              Assistant Federal Public Defender
21            411 E. Bonneville, Ste. 250
              Las Vegas, Nevada 89101
22

23            DATED this 13th day of April, 2015.

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25                                                        ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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